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     Kathleen Marie Morales Vega, as next friend of O.M., a minor, and Nicole Ulrich, as next friend of Bianca Ulrich and Gianna Jarvis, minors, Petitioners  v.  Leprino Foods Company, a Colorado corporation and Refrigeration Concepts, Inc., a Michigan corporation. Respondents No. 24SC521Supreme Court of Colorado, En BancDecember 16, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA769
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    